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13
14                       UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA, et            )    Civil No: CV 91-0589 CJC
17   al.,                                    )
18                                           )    UNITED STATES’ STATEMENT
                   Plaintiff,                )    OF UNCONTROVERTED FACTS
19                                           )    AND CONCLUSIONS OF LAW IN
20                 v.                        )    SUPPORT OF UNITED STATES’
                                             )    MOTION FOR PARTIAL
21
     SHELL OIL COMPANY, et al.,              )    SUMMARY JUDGMENT AS TO
22              Defendants.                  )    THE AMOUNT OF
23                                           )    RECOVERABLE RESPONSE
                                             )    COSTS
24                                           )
25                                           )    Date: August 10, 2020
                                             )    Time: 1:30 p.m.
26                                           )    Judge: Hon. Cormac J. Carney
27                                           )    Courtroom 7C, First Street Court
28                                           )    House
                                                     Case No. CV 91-0589 RJK (Ex)
                                                     United States’ Statement of Uncontroverted Facts
                                            And Conclusions of Law in Support of Motion
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 1
 2                         UNCONTROVERTED FACTS
 3         1.     This Court entered a judgment on September 29, 1993, against
 4
     the Defendants holding them liable under the Comprehensive Environmental
 5
     Response, Compensation, and Liability Act (“CERCLA”) Section 107(a), 42
 6
 7   U.S.C. § 9607(a). 841 F. Supp. 962 (C.D. Cal. 1993).
 8         2.     On December 9, 1994, the Court approved and entered a Partial
 9
     Consent Decree between the Plaintiffs and Defendants under which the
10
     Defendants agreed to pay the Plaintiffs $18 million in past response costs.
11
12   Docket No. 270.
13         3.     Pursuant to the December 9, 1994, Consent Decree, the $18
14   million paid by the Oil Company Defendants represented a compromised
15
     amount for activities and costs incurred through June 30, 1990, September
16
17   30, 1990, and June 30, 1991, and interest through July 31, 1993, depending

18   on the category of costs. Id. ¶¶ 3-4.
19         4.     Under the December 1994 Consent Decree, the parties agreed
20
     that the September 29, 1993 judgment constituted a declaratory judgment
21
     under Section 113(g)(2) of CERCLA, 42 U.S.C. § 9613(g)(2) in favor of the
22
23   United States (and State) against the Defendants for on-going response costs,
24   i.e., those costs generally post-dating the costs recovered under the 1994
25
     Consent Decree. Id. ¶ 10.
26
           5.     The United States has made available all supporting documents
27
28   relevant to the costs incurred in relation to the McColl Superfund Site.
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 1
              6.    The October 12, 1999, Final Judgment Pursuant to Federal Rule
 2
     of Civil Procedure 54(b) states that the United States retains all of its rights
 3
 4   to pursue its claims for response costs to judgment in this Court. Docket
 5   No. 489 at 4.
 6
              7.    The total costs incurred by the United States for response
 7
     activities in connection with the McColl Site are at least $52,183,070.79
 8
 9   including prejudgment interest calculated through September 30, 2019, for
10   EPA’s costs from July 1, 1990, through July 31, 2018, and DOJ’s costs from
11   October 1, 1990, through September 30, 2019. (Wright Decl. ¶ VI.)
12
              8.    As of July 31, 2018, the United States has incurred a total of at
13
14   least $8,554,829.81 for intramural expenditures in relation to the McColl

15   Site, not including Department of Justice (DOJ) costs. (Wright Decl. ¶
16   IV.E.)
17
              9.    As of July 31, 2018, the United States has incurred a total of at
18
     least $8,423,381.57 for contractor costs and $4,339,565.45 in federal
19
20   interagency agreements for response activities in connection with the
21   McColl Site, including DOJ costs from October 1, 1990, through September
22
     30, 2019. (Wright Decl. ¶¶ IV.F, IV.G.)
23
              10.   As of July 31, 2018, the United States has incurred a total of at
24
25   least $4,709,719.91 in State of California contract expenditures for response
26   activities in connection with the McColl Site. (Wright Decl. ¶ IV.H.)
27            11.   As of July 31, 2018, the United States has collected a total of
28
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 1
     $695,000 from the Defendants. (Wright Decl. ¶ IV.I.)
 2
           12.    As of September 30, 2019, the prejudgment interest on
 3
 4   unrecovered costs incurred by the United States for response activities in
 5   connection with the McColl Site is $26,934,007.81, which began to accrue
 6
     on September 17, 1990. (Wright Decl. ¶ IV.J.)
 7
           13.    Environmental Protection Agency (“EPA”) Headquarters’
 8
 9   employees performed response activities in connection with the McColl Site.
10   (Fong Decl. ¶ 25; Mak Decl. ¶ 26.)
11         14.    As of July 31, 2018, the United States has incurred costs for
12
     response activities performed in connection with the McColl Site in the form
13
14   of payroll expenses of EPA Headquarters’ employees in the amount of a

15   least $13,659.42. (Wright Decl. ¶ IV.E.)
16         15.    EPA Region 9 employees have performed response activities in
17
     connection with the McColl Site. (Fong Decl. ¶ 24; Mak Decl. ¶ 25.)
18
           16.    As of July 31, 2018, the United States had incurred costs for the
19
20   response activities in connection with the McColl Site in the form of payroll
21   expenses of EPA Region 9’s employees in the amount of at least
22
     $1,372,429.33. (Wright Decl. ¶ IV.E.)
23
           17.    As of July 31, 2018, the United States has incurred costs of at
24
25   least $5,167.25 for travel expenses of EPA Headquarters employees in
26   connection with response activities related to the McColl Site. (Wright
27   Decl. ¶ IV.E.)
28
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 1
              18.   EPA Region 9 personnel have traveled in connection with
 2
     response activities related to the McColl site. (Fong Decl. ¶ 27; Mak Decl.
 3
 4   ¶ 27.)
 5            19.   As of July 31, 2018, the United States has incurred costs of at
 6
     least $264,355.95 in paying for travel expenses of Region 9 employees
 7
     traveling in connection with response activities related to the McColl Site.
 8
 9   (Wright Decl. ¶ IV.E.)
10            20.   DTSC personnel have traveled in connection with response
11   activities related to the McColl Site. (Fong Decl. ¶ 56.)
12
              21.   In the ordinary course of business, EPA Region IX processes
13
14   State Cooperative Agreement (“SCA”) Costs, under which the United States

15   makes payments to State agencies such as the California Department of
16   Toxic Substances Control (“DTSC”). The Region maintains custody of
17
     vouchers and the U.S. Treasury confirmation schedules, inputs accounting
18
     information into the EPA accounting system, and scans vouchers and
19
20   Treasury confirmation schedules into the SCORPIOS system.                (Fong Decl.
21   ¶ 56.)
22
              22.   As of July 31, 2018, the United States has incurred costs of at
23
     least $4,709,719.91 in SCA costs in connection with the McColl Site.
24
25   (Wright Decl. ¶ IV.H.)
26            23.   As of July 31, 2018, the United States has incurred costs of at
27   least $6,899,217.86 in indirect costs in connection with response activities
28
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 1
     related to the McColl Site. (Wright Decl. ¶ IV.E.)
 2
           24.    The U.S. Department of Health & Human Services, Agency for
 3
 4   Toxic Substances Disease Registry (“ATSDR”) performed response
 5   activities in connection with the McColl Site.
 6
           25.    As of July 31, 2018, the United States has incurred costs of at
 7
     least $62,090.67 in payment to ATSDR for the response activities it
 8
 9   performed in connection with the McColl Site. (Wright Decl. ¶ IV.G.)
10         26.    CH2M Hill performed response activities in connection with
11   the McColl Site pursuant to Contract No. 68-W9-0031 and Contract No. 68-
12
     W9-8225.
13
14         27.    As of July 31, 2018, United States has incurred costs of at least

15   $192,288.17 in payment to CH2M Hill for the response activities it
16   performed in connection with the McColl Site pursuant to Contract No. 68-
17
     W9-0031, and at least $845.35 pursuant to Contract No. 68-W9-8225.
18
     (Wright Decl. Schedule 1 at 1-2.)
19
20         28.    ICF Technology, Inc. performed response activities in
21   connection with the McColl Site pursuant to Contract No. 68-W9-0059.
22
           29.    As of July 31, 2018, United States has incurred costs of at least
23
     $4,782,149.74 in payment to ICF Technology for the response activities it
24
25   performed in connection with the McColl Site, pursuant to Contract No. 68-
26   W9-0059. (Wright Decl. Schedule 1 at 1.)
27         30.    Bechtel Environmental performed response activities in
28
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 1
     connection with the McColl Site pursuant to Contract No. 68-W9-0060.
 2
           31.      As of July 31, 2018, United States has incurred costs of at least
 3
 4   $635,687.90 in payment to Bechtel Environmental for the response activities
 5   it performed in connection with the McColl Site, pursuant to Contract No.
 6
     68-W9-0060. (Wright Decl. Schedule 1 at 1.)
 7
           32.      CET Environmental Services performed response activities in
 8
 9   connection with the McColl Site pursuant to Contract No. 68-W1-0012.
10         33.      As of July 31, 2018, United States has incurred costs of at least
11   $14,121.33 in payment to CET Environmental Services for the response
12
     activities it performed in connection with the McColl Site, pursuant to
13
14   Contract No. 68-W1-0012. (Wright Decl. Schedule 1 at 1.)

15         34.      Roy F. Weston performed response activities in connection
16   with the McColl Site pursuant to Contract No. 68-03-3482.
17
           35.      As of July 31, 2018, United States has incurred costs of at least
18
     $50,035.50 in payment to Roy F. Weston for Emergency Response Unit
19
20   response activities it performed in connection with the McColl Site, pursuant
21   to Contract No. 68-03-3482. (Wright Decl. Schedule 1 at 1.)
22
           36.      Pursuant to Contract Nos. 68-01-7456 and 68-D1-0135, ICF
23
     Technology, Inc. performed response activities in connection with the
24
25   McColl Site.
26         37.      As of July 31, 2018, United States has incurred costs of at least
27   $143,463.70 in payment to ICF Technology, Inc. for response activities it
28
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 1
     performed in connection with the McColl Site pursuant to Contract No. 68-
 2
     01-7456, and $157,117.33 pursuant to Contract No. 68-D1-0135. (Wright
 3
 4   Decl. Schedule 1 at 1.)
 5           38.   Pursuant to Contract Nos. EPW13029 and EPW06041, ICF
 6
     Incorporated performed response activities in connection with the McColl
 7
     Site.
 8
 9           39.   As of July 31, 2018, United States has incurred costs of at least
10   $2,511.49 in payment to ICF Incorporated for response activities it
11   performed in connection with the McColl Site pursuant to Contract No.
12
     EPW13029, and $7,627.59 pursuant to Contract No. EPW06041. (Wright
13
14   Decl. Schedule 1 at 1.)

15           40.   Pursuant to Contract Nos. DW96955310, DW6955452,
16   DW96955536, DW96955588, DW96922738, and DW96957990 and
17
     through an Interagency Agreement, the U.S. Army Corps of Engineers
18
     performed response activities in connection with the McColl Site.
19
20           41.   As of July 31, 2018, the United States has incurred costs of at
21   least $348,803.00 in payment to the U.S. Army Corps of Engineers pursuant
22
     to the Interagency Agreement and Contract No. DW96955310, $625,047.19
23
     pursuant to Contract No. DW69455452, $99,440.23 pursuant to Contract
24
25   No. DW96955536, $346,942.92 pursuant to Contract No. DW96955588,
26   $41,445.10 pursuant to Contract No. DW6922738, and $39,053.29 pursuant
27   to Contract No. DW96957990 for activities performed in connection with
28
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 1
     the McColl Site. (Wright Decl. Schedule 1 at 1.)
 2
             42.   Pursuant to Contract No. 68-W0-0001 Techlaw, Inc. performed
 3
 4   response activities in connection with the McColl Site.
 5           43.   As of July 31, 2018, the United States has incurred costs of
 6
     $5,093.33 in payment to Techlaw, Inc. for response activities it performed in
 7
     connection with the McColl Site pursuant to Contract No. 68-W0-0001.
 8
 9   (Wright Decl. Schedule 1 at 1.)
10           44.   Pursuant to Contract No. 4U2000NDLX and Contract No.
11   8U1020NALX, EPA used Federal Express for performance of response
12
     activities in connection with the McColl Site.
13
14           45.   As of July 31, 2018, the United States has incurred costs of

15   $3.99 in payment to Federal Express pursuant to Contract No.
16   4U2000NDLX, and $3.75 pursuant to Contract No. 8U1020NALX for
17
     response activities related to the McColl Site. (Wright Decl. Schedule 1 at
18
     1-2.)
19
20           46.   Pursuant to Contract No. 68–02-4284, PEI Associates, Inc.
21   performed response activities in connection with the McColl Site.
22
             47.   As of July 31, 2018, the United States has incurred costs of
23
     $1,009,087.02 in payment to PEI Associates, Inc., pursuant to Contract No.
24
25   68-02-4284 for response activities related to the McColl Site. (Wright
26   Decl. Schedule 1 at 1.)
27           48.   Pursuant to Contract No. 68-03-3267, ACZ, Inc. Laboratory
28
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 1
     Division performed response activities in connection with the McColl Site.
 2
           49.   As of July 31, 2018, the United States has incurred costs of
 3
 4   $1,008.82 in payment to ACZ, Inc. Laboratory Division pursuant to Contract
 5   No. 68-03-3267 for response activities related to the McColl Site. (Wright
 6
     Decl. Schedule 1 at 1.)
 7
           50.   Pursuant to Contract No. 68-C0-0047 PRC/SSC performed
 8
 9   response activities in connection with the McColl Site.
10         51.   As of July 31, 2018, the United States has incurred costs of
11   $300,000 in payment to PRC/SSC pursuant to Contract No. 68-C0-0047 for
12
     response activities related to the McColl Site. (Wright Decl. Schedule 1 at
13
14   1.)

15         52.   Pursuant to Contract No. 68-C8-0062 Science Applications
16   International Corporation (SAIC) performed response activities in
17
     connection with the McColl Site.
18
           53.   As of July 31, 2018, the United States has incurred costs of
19
20   $38,953.00 in payment to SAIC pursuant to Contract No. 68-C8-0062 for
21   response activities related to the McColl Site. (Wright Decl. Schedule 1 at
22
     1.)
23
           54.   Pursuant to Contract No. 68-S2-9006 Edward Aul & Associates
24
25   performed response activities in connection with the McColl Site.
26         55.   As of July 31, 2018, the United States has incurred costs of
27   $12,250.00 in payment to Edward Aul & Associates pursuant to Contract
28
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 1
     No. 68-S2-9006 for response activities related to the McColl Site. (Wright
 2
     Decl. Schedule 1 at 1.)
 3
 4           56.   Pursuant to Contract No. 68-W3-0023 Ronson Management
 5   Corporation performed response activities in connection with the McColl
 6
     Site.
 7
             57.   As of July 31, 2018, the United States has incurred costs of
 8
 9   $207.83 in payment to Ronson Management Corporation pursuant to
10   Contract No. 68-W3-0023 for response activities related to the McColl Site.
11   (Wright Decl. Schedule 1 at 1.)
12
             58.   Pursuant to Contract Nos. 91091S0128, 9209PR0182,
13
14   93093S0047, 9309PR0028, 9809H8S075, and 9809H8S076, EPA used the

15   California Newspaper Service Bureau, Inc. for performance of response
16   activities related to the McColl Site.
17
             59.   As of July 31, 2018, the United States has incurred costs of
18
     $41.00, $579.69, $553.67, $386.46, $342.00, and $580.62 in payment to
19
20   California Newspaper Service Bureau, Inc. pursuant to Contract Nos.
21   91091S0128, 9209PR0182, 93093S0047, 9209PR0028, 9809H8S075, and
22
     9809H8S076 for response activities related to the McColl Site. (Wright
23
     Decl. Schedule 1 at 2.)
24
25           60.   Pursuant to Contract Nos. A8BK0000470 and B2BK0000983,
26   EPA used the Daily Journal Corp. for performance of response activities
27   related to the McColl Site.
28
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 1
           61.      As of July 31, 2018, the United States has incurred costs of
 2
     $623.52 in payment to Daily Journal Corp. pursuant to Contract No.
 3
 4   B2BK0000983 for response activities related to the McColl Site. (Wright
 5   Decl. Schedule 1 at 2.)
 6
           62.      Pursuant to Contract No. A8BK0000022, EPA used the
 7
     Bakersfield California Newspaper for performance of response activities
 8
 9   related to the McColl Site.
10         63.      As of July 31, 2018, the United States has incurred costs of
11   $184.24 in payment to Bakersfield California Newspaper pursuant to
12
     Contract No. A8BK0000022 for response activities related to the McColl
13
14   Site. (Wright Decl. Schedule 1 at 2.)

15         64.      Pursuant to Contract No. DU1001NBLX, EPA used Dun and
16   Bradstreet for the performance of response activities in connection with the
17
     McColl Site.
18
           65.      As of July 31, 2018, the United States has incurred costs of
19
20   $740.22 in payment to Dun and Bradstreet pursuant to Contract No.
21   DU1001NBLX for response activities related to the McColl Site. (Wright
22
     Decl. Schedule 1 at 2.)
23
           66.      Pursuant to Contract Nos. FRL61283, 1963S60038, and
24
25   1963S80105 EPA used the Government Printing Office for performance of
26   response activities in connection with the McColl Site.
27         67.      As of July 31, 2018, the United States has incurred costs of
28
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 1
     $1,755.00 in payment to the Government Printing Office pursuant to
 2
     Contract No. FRL61283, $2,132.00 pursuant to Contract No. 1963S60038,
 3
 4   and $1,895.56 pursuant to Contract No. 1963S80105 for response activities
 5   related to the McColl Site. (Wright Decl. Schedule 1 at 2.)
 6
             68.    Pursuant to Contract Nos. 68-R9-0101 and 68-WO-1002,
 7
     ASRC Aerospace Corp. performed response activities in connection with the
 8
 9   McColl Site.
10           69.    As of July 31, 2018, the United States has incurred costs of
11   $57,394.79 and $419.10 in payment to ASRC Aerospace Corp. pursuant to
12
     Contract Nos. 68-R9-0101 and 68-WO-1002 for response activities related
13
14   to the McColl Site. (Wright Decl. Schedule 1 at 2.)

15           70.    Pursuant to Contract Nos. 68-W4-0028 and 68-W9-0052,
16   Labat-Anderson performed response activities in connection with the
17
     McColl Site.
18
             71.    As of July 31, 2018, the United States has incurred costs of
19
20   $7,018.94 and $13,785.40 in payment to Labat-Anderson pursuant to
21   Contract Nos. 68-W4-0028 and 68-W9-0052 for response activities related
22
     to the McColl Site. (Wright Decl. Schedule 1 at 2.)
23
             72.    Pursuant to Contract No. 68-W5-0024, Armstrong Data
24
25   Services, Inc. performed response activities in connection with the McColl
26   Site.
27           73.    As of July 31, 2018, the United States has incurred costs of
28
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 1
     $43,649.90 in payment to Armstrong Data Services pursuant to Contract No.
 2
     68-W5-0024 for response activities related to the McColl Site. (Wright
 3
 4   Decl. Schedule 1 at 2.)
 5            74.   Pursuant to Contract No. 68-01-7251, CH2M Hill performed
 6
     response activities in connection with the McColl Site.
 7
              75.   As of July 31, 2018, the United States has incurred costs of
 8
 9   $135,879.78 in payment to CH2M Hill pursuant to Contract No. 68-01-7251
10   for response activities related to the McColl Site. (Wright Decl. Schedule 1
11   at 2.)
12
              76.   Pursuant to State Cooperative Agreement (SCA) and Contract
13
14   Nos. 937801, 937802, 940402, 940403, 940404, 940405 and 940406, DTSC

15   performed response activities in connection with the McColl Site.
16            77.   As of July 31, 2018, the United States has incurred costs of
17
     $2,836,787.10, $1,229,850.32, $229,117.45, $136,313.58, $107,659.10,
18
     $120,564.24, $49,428.12 in payment to DTSC pursuant to the SCA and
19
20   Contract Nos. 937801, 937802, 940402, 940403, 940404, 940405 and
21   940406 for response activities related to the McColl Site. (Wright Decl.
22
     Schedule 1 at 2.)
23
              78.   Pursuant to Contract Nos. 68–01-7368 and 68-W0-0037,
24
25   Ecology and Environment, Inc. performed response activities in connection
26   with the McColl Site.
27            79.   As of July 31, 2018, the United States has incurred costs of
28
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 1
     $161,186.25 and $402,739.70 in payment to Ecology and Environment, Inc.
 2
     pursuant to Contract Nos. 68-01-7368 and 68-W0-0037 for response
 3
 4   activities related to the McColl Site. (Wright Decl. Schedule 1 at 3.)
 5         80.   Pursuant to Contract No. 68-W9-0008, SAIC performed
 6
     response activities in connection with the McColl Site.
 7
           81.   As of July 31, 2018, the United States has incurred costs of
 8
 9   $73,664.06 in payment to SAIC pursuant to Contract No. 68-W9-0008 for
10   response activities related to the McColl Site. (Wright Decl. Schedule 1 at
11   3.)
12
           82.   Pursuant to Contract No. EPR90603, GRB Environmental
13
14   Services performed response activities in connection with the McColl Site.

15         83.   As of July 31, 2018, the United States has incurred costs of
16   $1,356.65 in payment to GRB Environmental Services pursuant to Contract
17
     No. EPR90603 for response activities related to the McColl Site. (Wright
18
     Decl. Schedule 1 at 2.)
19
20         84.   Pursuant to Contract No. EPR91202, Toeroek-Herndon Joint
21   Venture performed response activities in connection with the McColl Site.
22
           85.   As of July 31, 2018, the United States has incurred costs of
23
     $49,960.34 in payment to Toeroek-Herndon Joint Venture pursuant to
24
25   Contract Nos. EPR91202 for response activities related to the McColl Site.
26   (Wright Decl. Schedule 1 at 2.)
27         86.   Pursuant to the Contract Lab Program, Rudd Group, Inc., Silver
28
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 1
     Valley, Associated Laboratories, Inc., Columbia Analytical Services, Inc.,
 2
     Weyerhaeuser Analyt. & Testing Services; Chester Labnet, CKY
 3
 4   Incorporated Analytical Services; Viar & Company; and Computer Science
 5   Corp. performed response activities in connection with the McColl Site.
 6
           87.   As of July 31, 2018, the United States has incurred costs of
 7
     $114,056.84 in payment to Rudd Group, Inc., Silver Valley, Associated
 8
 9   Laboratories, Inc., Columbia Analytical Services, Inc., Weyerhaeuser
10   Analyt. & Testing Services; Chester Labnet, CKY Incorporated Analytical
11   Services; Viar & Company; and Computer Science Corp. pursuant to the
12
     Contract Lab Program for response activities related to the McColl Site.
13
14   (Wright Decl. Schedule 1 at 3.)

15         88.   Interest on the payment Defendants made under the 1994
16   Partial Consent Decree accruing from July 31, 1993 through the date of
17
     payment also constitutes an on-going response cost. Docket No. 270 ¶ 3.f.
18
           89.   The interest that accrued starting July 31, 1993, through
19
20   January 11, 1995, the date of Defendants’ payment, on the amount paid
21   under the 1994 Partial Consent Decree totals $939,708.75. (Wright Decl.
22
     ¶ IV.K.)
23
           90.   In the regular course of business, EPA uses the Superfund Cost
24
25   Recovery Package Image and On-Line System (“SCORPIOS”) to track and
26   summarize the voluminous cost documentation for identifying costs for
27   Superfund Sites.
28
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 1
           91.    The SCORPIOS report reflects the amount of each cost type
 2
     (payroll costs, travel costs, indirect costs, contractor costs, interagency
 3
 4   agreement costs, etc.) that EPA incurs at a Site.
 5         92.    EPA issued two Records of Decision (ROD) relevant to the
 6
     United States’ Motion for Summary Judgment, a Source ROD dated June
 7
     30, 1993, and a Groundwater ROD dated May 15, 1996.
 8
 9         93.    The Oil Company Defendants generated the hazardous wastes
10   dumped at the McColl Site.
11         94.    The Oil Company Defendants contracted with Eli McColl to
12
     transport and dump their waste at the McColl Site.
13
14         95.    William Kime, a CPA, describes the calculation for DOJ

15   enforcement costs and indirect costs relative to the McColl Site in two
16   Declarations submitted herewith in support of the United States’ Motion for
17
     Summary Judgment.
18
           96.    William Kime’s Declarations summarize the underlying time
19
20   sheets and other accounting records for direct labor costs and indirect costs
21   incurred by the Justice Department in prosecuting the McColl case.
22
           97.    The DOJ Cost Summaries were prepared under William Kime’s
23
     supervision and control. (Kime Decl. ¶ 4 & Ex. C ¶ 3.)
24
25         98.    The Department of Justice incurred $2,776,743.05 in response
26   costs related to the McColl Site from October 1, 1990 through September
27   30, 2019. (Wright Decl. ¶ IV.G.)
28
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 1
              99.   Mr. Kime describes the indirect rate methodology used by the
 2
     Department of Justice. (Kime Decl. ¶ 14-15.)
 3
 4            100. Pursuant to William A. Weinischke’s Declarations, the
 5   attorneys’ fees incurred by the United States Department of Justice in
 6
     connection with the McColl enforcement action are reasonable.
 7
     (Weinischke Decl. and attached Supp. Decl.)
 8
 9            101. The United States EPA provided the entire Administrative
10   Records related to remedial actions taken in connection with the McColl Site
11   to the Defendants.
12
              102. The United States has provided the Defendants with all cost
13
14   documentation relative to response costs incurred in connection with the

15   McColl Site requested by the Defendants.
16            103. The United States has been determined to be 100% responsible
17
     for the benzol waste costs at the McColl Site, and the Defendants are
18
     responsible for the remaining, non-benzol, waste costs at the McColl Site.
19
20   United States v. Shell Oil Co., 294 F.3d 1045, 1062 (9th Cir. 2002).
21            104. The United States and Defendants stipulated to allocate 6.25%
22
     of all response costs at the McColl Site as the share of benzol waste.
23
     Docket No. 507 at 2 n.1.
24
25            105. The total response costs, $52,183,070.79, less 6.25% allocated
26   to benzol waste, result in a total of $48,921,628.87 allocated to non-benzol
27   waste.
28
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 1
                               CONCLUSIONS OF LAW
 2
           1.      The costs incurred by the United States are for response
 3
 4   activities associated with the McColl Site.
 5         2.      The costs incurred by the United States were incurred in
 6
     response to the release and threat of release of hazardous substances from
 7
     the McColl Site into the environment.
 8
 9         3.      In ruling on a motion for summary judgment, the Court must
10   determine whether, viewing the evidence in the light most favorable to the
11   non-moving party, there are any genuine issues of material fact.
12
           4.      Summary judgment is appropriate whenever the pleadings and
13
14   evidence establish that there are no genuine issues of any material fact.

15         5.      Summary judgment should be granted so long as the evidence
16   before the Court demonstrates that after reasonable time for discovery, there
17
     is an absence of evidence to support the nonmoving party’s case.
18
           6.      There is no issue for trial unless there is sufficient evidence
19
20   favoring the nonmoving party for a “reasonable jury” to return a verdict for
21   that party.
22
           7.      Evidence that is merely colorable or that is not “significantly
23
     probative” does not raise a genuine issue of material fact and the mere
24
25   possibility that the nonmoving party may discredit the moving party’s
26   testimony at trial will not suffice to defeat a properly presented motion.
27         8.      Pursuant to 42 U.S.C. § 9607(a), the United States is entitled to
28
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 1
     recover all costs of response actions associated with the McColl Site
 2
     incurred in a manner not inconsistent with the National Contingency Plan
 3
 4   (“NCP”).
 5         9.     Pursuant to 42 U.S.C. § 9613(j)(1), the scope of the Court’s
 6
     review of whether any response action selected by the United States is
 7
     inconsistent with a specific provision of the NCP is limited to the
 8
 9   administrative record before the United States at the time the response action
10   was selected.
11         10.    Pursuant to 42 U.S.C. § 9613(j)(2), the standard the Court shall
12
     apply in such review is the “arbitrary and capricious” standard of review.
13
14         11.    Once the United States has established that the costs were

15   incurred for response actions associated with the McColl Site, the burden
16   shifts to the Defendants to show the response costs were incurred in a
17
     manner inconsistent with the NCP.
18
           12.    In evaluating a claim of inconsistency with the NCP, the NCP
19
20   to be applied is the NCP in effect at the time the response action was
21   undertaken, not the one in effect at the time the Court evaluates the claim for
22
     response costs.
23
           13.    The only challenge available to the Defendants is whether the
24
25   selection of response actions underlying those costs was “not inconsistent
26   with the NCP.”
27         14.    The Defendants must not only establish that selection of the
28
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 1
     response actions was inconsistent with a specific provision of the NCP, they
 2
     must also establish that the Governments were arbitrary and capricious in the
 3
 4   discharge of their duties under the NCP, and that as a result of such actions
 5   the costs were demonstrably excessive.
 6
              15.   The issue of whether the response activities were incurred in a
 7
     manner inconsistent with the NCP must be based on the administrative
 8
 9   record applying the arbitrary and capricious standard of review.
10            16.   The response activities conducted by the United States with
11   respect to the McColl were not inconsistent with the NCP.
12
              17.   A summary of the voluminous cost documentation, which was
13
14   maintained in the ordinary course of EPA’s business, associated with the

15   McColl Site is admissible in lieu of all the underlying documents pursuant to
16   Fed. R. Evid. 1006.
17
              18.   In CERCLA, Congress intended that the parties who
18
     contributed to hazardous waste sites such as the McColl Site, rather than the
19
20   public, should bear all costs incurred by the United States in actions taken in
21   response to the release and threat of release of hazardous substances at such
22
     sites.
23
              19.   To achieve its purpose, Congress enacted the Section 107 strict
24
25   liability and cost recovery provisions of CERCLA.
26            20.   Section 101(23) of CERCLA, 42 U.S.C. § 9601(23), defines the
27   term “remove” or “removal” to mean:
28
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 1
                 the cleanup or removal of released hazardous substances
 2
                 from the environment, such actions as may be necessary
 3
 4               taken in the event of the threat of release of hazardous
 5               substances into the environment, such actions as may be
 6
                 necessary to monitor, assess, and evaluate the release or
 7
                 threat of release of hazardous substances, the disposal of
 8
 9               removed material, or the taking of such other actions as
10               may be necessary to prevent, minimize, or mitigate
11               damage to the public health or welfare or to the
12
                 environment, which may otherwise result from a release
13
14               or threat of release. The term includes, in addition . . .

15               action taken under Section 9604(b) of this title, . . .
16         21.   The definition of removal also includes, by explicit reference,
17
     the kinds of actions specified in Section 104(b) of CERCLA, 42 U.S.C.
18
     § 9604(b). That Section provides:
19
20               Whenever the President is authorized to act pursuant to
21               subsection (a) of this section, . . . he may undertake such
22
                 investigations, monitoring, surveys, testing, and other
23
                 information gathering as he may deem necessary or
24
25               appropriate to identify the existence and extent of the
26               release or threat thereof, the source and nature of the
27               hazardous    substances,     pollutants      or    contaminants
28
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 1
                  involved, and the extent of the danger to the public health
 2
                  or welfare or to the environment.             In addition, the
 3
 4                President may undertake such planning, legal, fiscal,
 5                economic, engineering, architectural, and other studies or
 6
                  investigations as he may deem necessary or appropriate to
 7
                  plan and direct response actions, to recover the costs
 8
 9                thereof, and to enforce the provisions of this chapter.
10         22.    Subsection (a), referred to in Section 104(b), provides authority
11   to act “[w]henever (A) any hazardous substance is released or there is a
12
     substantial threat of such a release into the environment, or (B) there is a
13
14   release or substantial threat of release into the environment of any pollutant

15   or contaminant which may present an imminent and substantial danger to the
16   public health or welfare . . . .” 42 U.S.C. § 9604(a)(1).
17
           23.    Investigation, site work, and enforcement activities such as
18
     those undertaken in connection with the McColl Site are all response actions
19
20   expressly authorized by Section 104(b).
21         24.    The term “remedy” or “remedial action” refers to long-term
22
     cleanups and is defined in Section 101(24) of CERCLA as:
23
                  those actions consistent with permanent remedy taken
24
25                instead of or in addition to removal actions in the event of
26                a release or threatened release of a hazardous substance
27                into the environment, to prevent or minimize the release
28
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 1
                  of hazardous substances so that they do not migrate to
 2
                  cause substantial danger to present or future public health
 3
 4                or welfare or the environment. The term includes, but is
 5                not limited to, such actions at the location of the release as
 6
                  . . . any monitoring reasonably required to assure that such
 7
                  actions protect the public health and welfare and the
 8
 9                environment . . . .
10         25.    The terms “removal” and “remedial” are both considered to be
11   “response” actions.
12
           26.    Section 101(25) of CERCLA defines “respond” or “response”
13
14   to mean “remove, removal, remedy, and remedial action” and clarifies that

15   “all such terms (including the terms ‘removal’ and ‘remedial action’) include
16   enforcement activities related thereto.” 42 U.S.C. § 9601(25).
17
           27.    The recovery of “all costs of removal or remedial action” under
18
     Section 107(a)(4) includes recovery of all response costs incurred by the
19
20   United States.
21         28.    Investigation and monitoring activities are expressly authorized
22
     under Section 101(23), which permits “such actions as may be necessary to
23
     monitor, assess and evaluate the release or threat of release of hazardous
24
25   substances.” 42 U.S.C. § 9601(23).
26         29.    Courts have held that investigative costs are recoverable from
27   parties liable under Section 107(a)(4).
28
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 1
           30.    Costs of designing and implementing response actions are
 2
     specifically authorized under Section 104(b) of CERCLA, which provides
 3
 4   that “the President may undertake such planning . . . engineering,
 5   architectural, and other studies or investigations . . . to plan and direct
 6
     response actions . . . .” 42 U.S.C. § 9604(b).
 7
           31.    Enforcement and litigation costs are recoverable as Section
 8
 9   104(b) and Section 101(25) response actions. Section 104(b) authorizes
10   recovery of legal and enforcement expenses incurred in seeking to recover
11   costs from responsible parties: “the President may undertake such planning,
12
     legal . . . and other studies and investigations . . . to plan and direct response
13
14   actions, to recover the costs thereof, and to enforce the provisions of the

15   chapter.” 42 U.S.C. § 9604(b).
16         32.    Courts have held that CERCLA explicitly allows the recovery
17
     of litigation costs from liable parties.
18
           33.    Courts have held that the costs of investigations, including
19
20   sampling and testing, are recoverable from liable parties.
21         34.    Costs of administration, including indirect costs, associated
22
     with cleanups and related enforcement activities are recoverable.
23
           35.    Courts have upheld the Governments’ right to recover
24
25   administrative costs calculated on an indirect basis in CERCLA actions.
26         36.    Indirect costs are overhead costs for EPA and DTSC to
27   administer the Superfund program and for the United States and California
28
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 1
     Departments of Justice to litigate Superfund enforcement actions.
 2
           37.    Inconsistency with the NCP is the only defense to the United
 3
 4   States’ claim for cost recovery after they have established that response costs
 5   were incurred. Terms used such as improper, speculative, remote,
 6
     unreasonable, not cost-effective, and unnecessary do not state an appropriate
 7
     challenge to the United States’ response costs.
 8
 9         38.    Recovery of prejudgment interest is expressly authorized under
10   Section 107(a)(4) of CERCLA, which provides for interest on the amounts
11   recoverable under subparagraphs (A) through (D) of Section 107(a)(4).
12
     “Such interest shall accrue from the later of (i) the date payment of a
13
14   specified amount is demanded in writing, or (ii) the date of the expenditure

15   concerned.” 42 U.S.C. § 9607(a)(4).
16         39.    Recovery of “all costs of removal or remedial action” includes
17
     investigative, enforcement, litigation, indirect costs and interest, as well as
18
     direct costs of cleanup activities, all of which were undertaken in connection
19
20   with the McColl Site.
21         40.    All of the costs for which the United States seeks
22
     reimbursement in this motion clearly fall within the categories of
23
     recoverable costs described herein.
24
25         41.    In accordance with CERCLA, the United States is entitled to
26   recover from the Defendants the costs allocated to the non-benzol waste at
27   the McColl Site, $48,921,628.87, and interest on the amount paid under the
28
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 1
     1994 Consent Decree, $939,708.75, for a total of $49,861,337.62.
 2
           42.   To the extent that any of the foregoing Conclusions of Law are
 3
 4   deemed to be uncontroverted facts, they are incorporated into the Statement
 5   of Uncontroverted Facts.
 6
                                           Respectfully submitted,
 7
 8
                                           _/s/ William A. Weinischke______
 9                                  William A. Weinischke
10                                  Senior Attorney
                                           Environmental Enforcement Section
11
                                           Environment and Natural Resources
12                                         Division
13
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